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     Plaintiff's Exhibit C
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                                                 Plaintiff’s Exhibit D
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                                                                   Plaintiff’s Exhibit E




 [Even ‘WJE’ supplied assessment is self-contradictory , claiming accessible areas in unit 34 below,
but same area immediately above, in unit 39 without roof damage, somehow claimed inaccessible!?]
            Case No. 1:23-cv-00645-NYWWhittier
                                       DocumentApartments
                                                     1-2: Access to Unit(s)? USDC Colorado pg 4 of 12
                                                           filed 03/13/23
                                                                                          Plaintiff's Exhibit F

         Subject: Whittier Apartments : Access to Unit(s)?
         From: David Shaver <davidwshaver@yahoo.com>
         Date: 10/25/21, 2:10 PM
         To: "rachel@boulderhoa.com" <rachel@boulderhoa.com>
         Message-ID: <301363355.617031.1635192657520@mail.yahoo.com>
         MIME-Version: 1.0
         Content-Type: text/plain; charset=UTF-8
         Content-Transfer-Encoding: quoted-printable
         References: <301363355.617031.1635192657520.ref@mail.yahoo.com>
         X-Mailer: WebService/1.1.19198 YMailNorrin
         Content-Length: 1501

          I was ordered to leave, by an officer outside my door, before I could pick up certain items
         from the apartment, during the fire on the 19th. The police department had originally told me
         that they would allow residents access {first saying within 7 hours to a day, then within two
         days}, but now tells me that BoulderHOA is the one coordinating access (?).

          The unit I was in, #39, appears to have largely suffered roof damage. The items that I would
         be interested in near term retrieval (including my wallet, and phone) were located in a
         relatively undamaged section (likely accessible via reaching in the side window, or more likely
         via the balcony).

         https://x-in-g.com/Secure/Unit39/

          As a graduate Engineer, having seen extensive overhead video of the damage, and with what
         mountaineering experience I have, having hiked most of the "14'ers" in colorado (I even left
         climbing equipment in the unit, in case I had to escape via the balcony! - which in hindsight I
         probably should've done to retain more of my possessions, not knowing it would take this long), I
         think I would feel relatively comfortable visiting it in its current condition (and would be
         quite willing to provide an indemnification or waiver to that effect).

          I pray to God that any residents with any reasonably intact structures are able to obtain
         access to contents within our units relatively soon!

         David William Dacres Shaver




1 of 1                                                                                                  2/4/23, 6:39 AM
http://computacor.com/GraphicalResumeWithFeedback/GraphicalRes...
               Case No. 1:23-cv-00645-NYW Document 1-2                                                           filed 03/13/23 USDC ColoradoGraphicalResumeWithFeedback
                                                                                                                                                pg 5 of 12
         http://computacor.com/GraphicalResumeWithFeedback/GraphicalResumeWithFeedback.html                                                  Plaintiff's Exhibit G


                                                   Autobio * Graphical Resume of:

                                   303-351-4239 * 1750 30th St Suite A 338, Boulder, CO 80301 * IT@COMPUTACOR.COM
                                                    [with the intent of continuing, and currently exploring seeking new opportunities!]...


                       Owner/Engineer/Manager/Consultant at COMPUTACOR : 3/1999 to present

                       * Software Development, Systems Administration, Database Administration exercises and server
                       maintenance * Travelled broadly, acquiring direct, intensive, immersive, low latency familiarization with
                       cultures of, and requirements for day to day living in, over two dozen countries (with a policy of spending at
                       least a month in each, including those whose flags are arrayed on the globe following), visiting places which
                       influenced my life, profession, or that of my ancestors (and encouraging the adoption of technology,
                       computing & the internet) * Company maintenance & registered office duties * Installed, configured, and
                       investigated multiple operating system architectures (Linux [Debian, Ubuntu, Mandriva, SUSE, Knoppix,
                       Morphix, etc], DragonFly, OS X, Windows XP&7), many development and/or scripting environments
                       (including CUDA, OpenCL, XCode, Eclipse, Embarcadero variants, OpenWatcom, Unity3D+'Unreal Engine',
                       etc)) * Investigation and research of topics in health, nutrition and related biochemistry, genetics+genealogy,
                       intellectual property, parallel processing, artificial intelligence, financial engineering, sales, negotiation,
                       interpersonal interaction, government and management, quality and validation, initial forays into
                       electrodynamics, orbital mechanics, energy sources * Hardware and embedded            Text
                                                                                                               development, from the
                       construction of specialized hybrid compute servers with GPUs using components available to the consumer
                       to exploration of MSP430/firmware devices * Stock market research and investment * Etc.




                       Founding Manager, Restoration Engineer, Contractor Management, Procurement, Security at D'Aker Holdings : 1/1994 to present
                       (Renamed)

                       I initiated, and voiced strong preferences in favor of choosing to purchase the Huddart Terrace building, with 7500 square feet of space
                       including the basement (which turned out to have been designed by a notable English architect) with potential expansion of our servers, and
                       the available power being key considerations; I then participated in the managing of, updating, refurbishing, refinishing and/or rebuilding of
                       parts of it, including roofing, carpeting, painting, network wiring, lighting, and other construction * Participation in obtaining Denver Landmark
                       status, and environmental survey, plus water tests for it * Researched, procured, designed, supervised the installation of, and maintained a
                       security system including key code entry and proximity cards * Installation of relatively high bandwidth T1 line & router, in temperature
                       controlled server environment which included remote power control * Designed our own lighting fixtures and specced colors to save costs and
                       provide optimum indirect light * Interacted with tenants and government entities * Our interstate merger, coupled with the leasing agents'
                       (associated with one original partner) apparent inability to increase tenant occupancy led to the sale of that building * This company was also
                       involved with the provisioning and procurement of lofts in the IceHouse (though we had to bail on one of them after they first neglected to put
                       in the architectural mods and custom tub that I had asked for [later rectified : I was told that my design for network topology influenced later
                       units], and subsequently announced that they were going to build an elevated parking structure right outside of the deck, and my girlfriend
                       Molly Gibson (whose mother was a prominent Denver realtor, and apparently didn't like the Icehouse in general), both naysaid the deal; we
                       were further glad that our realtor, Jan Nelsen at Devonshire Realty, somehow apparently managed to pull off a simultaneous closing to sell the
                       other one at a profit [after fixing the contradictory plumbing & other quality issues that we pointed out] when we were required to move out of
                       state for our merger {though when I looked for record of it in the deed history, I didn't find it!?}) * Further continued property investment &
                       research, including tax certificates and auctions * Etc. * Also serving in roles: Electrician (designer), Alarm Response Mediator, Landlord, ...


                       Original Founder/Owner/Engineer/Manager/Consultant at AstroByte™ : 1/1994 to 3/1999 (Renamed. Mergers w/entities starting in 1/98)

                           We began with the intent of focusing on things other than print publishing, and initially approached a number of game development houses with the
                           concept of providing a scriptable animation system for the internet, as well as a real time 3D game engine environment (neither of which seemed to
                           receive a great deal of interest or financial support at the time, though it turns out that some may have been developing their own). Along the way to
                           developing our own products, we also performed custom development for various entities [including enhancing my own work at Quark in exchange
                           for a developer kit, developing system level screen capture utilities (Nintendo,Sega / quasi modular, with potential for significant expansion) for Leland
                           in the hopes that we'd be able to obtain some sort of stock participation in their imminent big merger deal with Midway/WMS/Bally (however the guy
                           we were working with, Michael Abbott, became somewhat standoffish immediately after he accepted the work product, and we pretty much lost
                           contact with him; in later discussions with his cohorts, apparently he somehow had neglected to inform them that we had developed it for them!?),
                       went on to perform very significantly performance enhanced scripting support capabilities for Apple, a template driven Gateway / 'Visual Rainman' for
                       AOL's internal layout format (however, instead of allowing us to upgrade their technology, apparently all they wanted was what I felt was a relatively
                       goofy template export utility (I found out later that the guy we were working with, who was evaluating our technology, Brad Zions, Director, AOL
                       International, was apparently educated as a Biologist!), so we went on to help invent the internet instead!; I further performed unfinanced consulting for
                       my girlfriends's high end audio company 'Fidelity Communications'].
                                                                                                                                                                                        BeyondPress
                           Member of a team which developed BeyondPress (multiple versions), the first WYSIWYG web authoring and repurposing tool for professional                       (v1-4)
                              magazines and newspapers / &LL3pFwk.v3+.* Code: graphics/image/editing+layout * Org&C+CGI's * Scripts * Contract development &
                              consulting.* Database design, development, management+implementation, &publishing (all Web+SQL). * Systems+Database administration *
                              Development 3D game engine (which I developed the real time assembly texture mapping, depth shading for), a version provided to Apple for
                              shipment with OpenDoc distributions which allowed for multiple nested parts, before we became aware of QuickDraw 3D, more than one year
                              before its release {and 20 years before Apple's 'Metal' API}.* Purchasing * Travel: some shows, intl. dists               .. * Negotiation/Inv^A * A
                              bunch of other stuff. * Architected & managed the implementation of a web based shopping cart style system incorporating order entry, distributor
                              handling, product fulfillment, user registrations, user news mailings, and protected support areas; Later extended to 'XTSource' including third
                              party product sales, initially asking relatively low 25% margins. * Designed and implemented serialization and network copy protection. * Managed
                              servers (Mac, NT; DNS / BIND, DHCP, HTTP, FTP, SMTP, SQL, etc) and procured T1/ISDN internet access and provisioning, DNS/domain
                              registration, router maintenance, and access; initially also installed software & fonts, occasionally handled difficult tech support questions, etc. *
                              Obtained shared company membership(s) in a local fitness club. * Attended trade shows, performed purchasing [including equipment and
                              software], visited overseas distributors, and oversaw / negotiated contracts for distribution, consultation, and mergers, etc. * Assisted in starting a
                              European branch (Astrobyte Europe, LTD), and associated banking and other activity.* Reviewed / proofread documentation. We later also
                              developed a specialized variation of BeyondPress customized for Koyosha in the Japanese market, etc.


                       Starting with 3-4 founders, [I had first come up with the name Acrobyte, influenced by my mother's reportedly ancestral D'acre family origins, but we were
                       prompted at one point to rename, by another company (who I may not be allowed to name), which apparently considered that ours was too similar to one              CyberPress
                       of their product identities] we eventually had up to a dozen employees, full and part time, several which were engineers, reporting to me in certain             (via Extensis)
                       capacities, before merger.

                            Custom development or involvement: Quark         Leland      (later Midway, now             ) Masque®        Apple    AOL      Koyosha       Extensis




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                                                                                         Metrowerks      Test Site


                [Astrobyte spoke of mergers/sales, first w/Quark (who did not make us what our books said would be an offer in the very reasonable range for a
                profitable company of our sales level, or a few other ways we attempted to value things, and did not appear to be willing to offer us anything above a 5%
                royalty rate, if at all), then Extensis (whose offer looked much fairer given our revenues, which were just reaching the seven figure mark even without our
                soon to be released Windows version)] : Extensis' financiers were Hambrecht and Quist, (who, research later shows, also worked with Apple, Netscape,
                Amazon, Adobe, Google, AutoDesk, and the less fortunate CP/M)[+KPMG]. We were required to move to Oregon as a condition of the agreement
                (despite my protests to the contrary), though I can count on one hand the number of times those we had dealt with actually visited my office after I moved
                out there. They wrote that merger stock consideration should be worth over $10 a share at IPO within several months (even without the merger, claiming
                a 100M+ IPO valuation) and at over $25 a share within a few years. Although market trends remained similar, our engineering team ended up being cut
                in more than half from expectations given, and, claiming that this would better enable the goals of the merger to be met, founders were divided, with one
                going into management, two others told to work in engineering positions (refusing to make my suggested offer and incentives to our MSWindows
                specialist {instead paying us more per hour to do his work}). Despite having to manage engineering and QA their way [we had been testing using our
                entire engineering team & technical support in off hours, while they used a single full time individual without an engineering education who had worked
                for competing companies], which didn't appear to enhance overall efficiency, time to market, or product quality (instead of using engineers in their off
                hours, they had a single specialist, who I think had conflicts of interest, having worked at competing companies in the past), we completed a new version
                of "BeyondPress" w/DHTML+CSS and produced a wholly new MSWindows version, the size+~complexity of QuarkXPress, within the year. Strategic
                concepts and scenarios that I provided prior to merger weren't adopted, contrary to upfront agreement provided by senior management, and despite my
                own later reiterations (instead cannibalizing our resources to feed alternates which appeared to me incapable of generating the revenue to justify their
                claimed valuation). [Contradictatorial] Management generally appeared to be unable or unwilling to adhere to many goals set, or agreements made,
                entirely (employing only founding Astrobyte employees by the end of the first year, and even terminating my employment from my own, albeit merged
                company, at about that time (following actions by a colleague who had previously been employed by one of our competitors, and further admitting that at
                least one of my partners had backed them in their decision!), claiming that they didn't think I was happy there, despite their original claims of retaining all
                essential personnel, & destroying our relatively lucrative Japanese product guarantees (enough to cover our salaries), cancelled without soliciting my
                input or even inviting me to the meetings, and apparently without anything to replace them with). Coupled with requiring replacement of our serialization
                & removal of our own copy protection, these apparently diminished sales. They also did things like asking me to disable the network copy protection on
                our QuarkXPress products, and assigning myself and another ex Quark employee copies with the same serial number. Quark later announced that they
                would be developing some level of their own HTML export capabilities, despite their apparent lack of interest in negotiations with us, which had
                reportedly taken into account the results of polls of their 'service plus' customers. Meetings often had more managers than people doing things. We also
                found out that Adobe had decided to hire senior personnel from Quark, and then later from Extensis, even though they were (minority~=10%)                                 '3DWorld' optimized
                                                                                                                                                                                           for 68K &PowerPC
                stockholders and reportedly on the board (which had given a valuation for our merger which was never met). Extensis' IPO never occurred (nor did there                     (shown on G4 1.25
                appear to be much sincere effort to prepare for one); instead, a belated merger with ImageX [WA] and who later research indicates had some                                 @1695 frames per
                management from Quark's competitors, although that may be a coincidence influenced by the state that they were in, and even West Point alumni. I                                second!)
                attempted to call senior management once, but they didn't return my call), continuing to reduce both valuation (with the stock price plummeting rapidly to
                <1% of their claims to us), and their XTension products [Multiple employees incl. engineers=>Adobe (although they were a minority stockholder
                apparently with board representation, they began hiring engineers away even while leaders were still claiming to be attempting to go public!), later Apple,
                mergers/assets => ImageX => Kinkos => Fedex => Celartem(!?) of Japan].


                Software Engineer, Founder, Consultant at Software Forge : 1990 to 1998


                    I voluntarily originated, and developed what became the Macintosh version of the 'Intermission' Screen Saver
                       engine (making it the first cross platform screen saver package), influenced by a colleague's creation of a
                       shareware screen package that had derived from my prior work in drivers, including sound and UI API's [in C,
                       and hand optimized assembly language], system level trap patching, system level security, multitasking,
                       supporting multiple modules + monitors, and other modules, and ported (mostly) / rewrote (some) [and
                       debugged! (occasionally)] associated Windows based sprite and compression engines. My original stated
                       preference for a minimum percentage of gross revenues was not implemented. Originally also used as a test
                       vehicle for experimental exercises of our engineering skills, after the Canadian Delrina corporation took it
                       over, it was primarily used for animated cartoon packages. They further also required me to assist them in
                       degrading the quality of the product graphics, despite my stated preferences to the contrary, and I was even
                       asked to teach the new management (Todd Gilbertsen; also dealing with Jack Brummet/QA) how to use their               Intermission     Opus 'n Bill            Dilbert        The Far Side
                       own product, TMON. Also used in (~)'Opus & Bill', The Far Side, Flintstones, Dilbert Screen Saver                   (Original: ICOM) [Gates] (Original)
                       Collection(s)", (*)'Star Wars Screen Entertainment', [In association with {Ant Software} + {(ICOM[WA]=>
                       ((~)Amaze[WA] + Delrina[CN])=>Viacom & ((*)LucasArts + Presage[CA]))=>Symantec[OR], etc.} & including
                       direct contact/involvement with most at times : I was flown to Seattle and California]. Members of ICOM(+)
                       later went on to work on MS/DirectX+sound,QuickTime. I was never approached for a PPC version (though if
                       royalties are any indication, the 68k versions weren't especially profitable anyhow, never nearing hype; at
                       least it managed to pay for the equipment used to develop on, if not pay for PPC hardware to develop further
                       revisions with! {probably would've had to renegotiate given the discrepancies between their claims and
                       financial reality}), and it was (much) later indicated that Symantec had simply decided to discontinue {"kill"}
                       the product line, post merger, without involving me {%}. Although I had been led to believe that I would
                       receive royalties for all subsequent Mac products using the sprite package, Anthony Andersen at Ant
                       Software instead reportedly switched to Microsoft's emulation libraries as soon as they became available, and
                       later was effectively absorbed into Masque apparently as a stockless employee, indicating that they're not
                       using the sprite library anymore anyhow. Amaze personnel left Symantec and reformed as Amaze
                       Entertainment, which sources indicate used the same logo [assets=>F9=>GLU Mobile], again providing
                       entertainment software, though I haven't yet been approached for any code licenses ;-?.
                    Developed / ported the Macintosh version of Solitaire Antics(TM) (based on same engines, also used in other            Intermission
                                                                                                                                           (Later: Delrina)
                                                                                                                                                              Opus 'n Bill (After Star Wars Screen
                                                                                                                                                              Toaster Lawsuit)      Entertainment
                                                                                                                                                                                                     Flintstones
                       products | games, such as, reportedly, 'Shadows of Cairn', 'Craps' [WSOP]...) * Adapted & maintained third
                       party installer. * Rewrote my 68k sprite assembly code in C for PowerPC adaptation & merged with cross
                       platform capabilities into Windows code base {%} [In association with {Ant Software} + {Masque}}[CO]] * {{%}
                       Royalty payments stopped shortly thereafter...} * etc.
                    AKA 'ScreenPeace', (~)later 'Intermission' was used to make fun of Bill Gates (subsequently, though it may be
                       coincidental, screen savers were shortly afterwards added to the OS) & to depict a penguin w/shotgun
                       shooting down (lawsuit provoking) toasters.



                       Custom development or involvement with: Ant Software   ICOM    Delrina         ~Amaze         LucasArts™



                QA/Tech Support/Software Engineer/Senior Software Engineer at Quark : 5/1987 to 1/1994 (Renamed)

                   (Primarily in Research and Development for 'QuarkXPress'(TM) Mac and code derivatives / QPS)

                    Designed/architected and led the development of the scripting system + testing scripts & support / OSA. * etc.
                    Taught workshops: color overlap control (to customers), scripting, low level software debugging (internally).
                    Network communication (+asynchronous, realtime during interrupt; used as basis for 'QPS'(TM))(+).
                    Scanner software (+GPIB) & compression of files * Auto-save / backup * 'Intelligent' text scrolling.
                       (Development for the very first slide scanner, Barneyscan, which also launched "Adobe Photoshop").
                    Floating palette layer management system & miniature graphics * Window tiling, stacking.
                    Development on the very first XTensions (hyphenation), adding the ability to have User Interfaces at all.




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                                                                                                                                                                                                    QuarkXPress
                    Printing : Overlap adjustment system + UI & font gen., blends, formulas, Color Compensation/Dot Gain UI.                                                                     (v1-3.2) QPS,
                                                                                                                                                                                                   CopyDesk, etc.
                    QA+customer+educational+technical support, including some conferences/trade shows & travel.
                    Parsing dictionaries, and compiling mathematical formula descriptions + wysiwyg editing UIs.
                       {Teaching myself Macintosh programming was initiated & required in order to get to R&D from the filing, courier, warehouse and technical support
                       duties to which I was originally assigned [even though I had applied to a job advertisement seeking 'Programmers', they apparently thought that I
                       needed to prove computation and/or Turing's theory of completeness by demonstrating my skills still worked in the latest fashion in languages; I
                       purchased my own compiler and system reference manuals to do so]. I helped the Tech support Manager to write the configuration / installation utility
                       in while attempting to migrate to the software development team. Originated the dictionary editor, network communications, palettes+handling, and
                       misc. items myself; other items were designed and developed upon some assignation and directive}. Contributions to portions of features or team
                       reworkings in other areas of the product, such as nonsimple polygons, drag and drop text, text obstruction runaround, many optimizations and bug
                       fixes (also demonstrated real time transformation of 3D spline objects to management in 1989). mathematical formula layout code incorporated
                       multiple nested palettes with quantities of formula types, also allowing for extensive table creation and nesting, along with other extended layout
                       features. I was also asked to design and develop network code to allow for serialized copy protection (which I was told resulted in very significantly
                       increased sales {including those generated by an "amnesty" program}) further adapting that to support network communcations (tested by
                       transferring document contents between engineer's copies of the product), and to maintain the code for the third party disk based copy protection.
                       Alas, repeated representations made that engineers would share in the financial success or sale of the company (and someone else has told me
                       stock) never really appeared to materialize out significantly, despite over an order of magnitude increase in employees. Intimations that we should
                       work yet harder (over 100 hours a week at times!) apparently in order that more there might be more profit to be shareable appeared to be met by
                       the american public buying up our competitors shares (in addition to competitors and the operating system vendors notably assimilating features
                       outright!) seemingly in order that there might be an even horse race or something. They also appeared to me to have a strange propensity to put
                       people of lesser technical talent in charge of things. They seemed to prefer that we put anything outstanding 'under the hood' so that third party
                       XTension developers could take advantage of them, rather than shipping them in the main product. Prior employees there had led me to believe that
                       their relatively low compensation was as a result of their failed QC10 hard drive product, yet the company's success appeared to lead to the
                       company founder buying up properties in England, worshipping a statue of Darth Vader in his office and even speaking of eliminating profit sharing
                       instead. After working there for several years, and despite the fact that I had told them that I thought they should be paying better, I was still making
                       less financially per hour than I had when consulting in my teens (nor relative to the difficulty of getting into engineering school either, though at least
                       they covered the cost of computer hardware used!), and the non financial incentives, most especially the learning involved, were no longer
                       enchanting in the same manner either (in addition to the apparently failed attempt to sell out to Claris, the strange issues with Broderbund's 'Zeus',
                       de-emphasising Macintosh Development {particularly given that I am descended from the Macintosh clan of Scotland}, reneging on their grants to put
                       our names in the manual (after version 2, without letting us know in advance, after working on the next version for over a year; it was indicated to me
                       at the time that this was because they didn't want their engineers hired away, so after others requested it, I put copies of individual developer's
                       images in an easter egg in the about box {which were apparently largely removed by the very next minor revision after we had left!, though later
                       versions showed images of turbaned people of India in our places}), and the repeated indications that our jobs might be outsourced overseas). The
                       product was popularly considered the foremost desktop publishing application at the time. After completing the scripting capabilities (which supports
                       any OSA compatible scripting language, currently including Ruby, Perl, JavaScript, and a number of others, the stand alone code segments for which
                       themselves, upon completion, comprising nearly 20% of the object size of the product, having developed the vast majority of this at the time myself),
                       and given further circumstances including Quark's apparent lack of value for my work, Apple's decision to transition to the PPC, as well as the
                       departure of Apple's scripting team, I thought and felt that an exit would be prudent. The first phone list that I saw had an employee count in the 30's,
                       (only about a dozen employees when I started, with 5 engineers {one part time} when I began developing) the last well over 400; in the neighborhood
                       of 10-15% engineers, on few different teams and platforms, with a shared code base, reportedly around an order of magnitude more employees after
                       company properties were relocated to Persian areas (I'm told that they decided to relocate development to historically Persian areas of India after an
                       entire team apparently failed to effectively reproduce web page exporting capabilities {which we had offered to provide them in the above Astrobyte
                       merger : they have further even copied our marketing slogan printed on our t-shirts "reinvent your content" outright!}, plus the original founder sold
                       out, and the entire remaining Macintosh team was reportedly subsequently terminated). Reports after 'Platinum Equity' buyout indicate that
                       QuarkXPress alone has eventually obtained an installed base of over 3 million units, up to 9 revisions, billions in revenues.


                         Custom development or involvement with: Apple       National Instruments                    Barneyscan   Metrowerks   Test Site (Indirectly: Linotronic

                                                                                                                 )



               Enrollment in the     University of Colorado's engineering program appeared likely to alleviate some of the concerns that potential customers without the
               capability to evaluate my skills themselves had raised (though in subsequent experience I have found that if I only bring the education up when asked, it
               appears that the concern can be an excuse on the part of the customer, and it hasn't seemed to help much). Coursework ranged from General Core
               Engineering (Physics, Maths [including Probability+Statistics, Linear Algebra, Calculus I-III, Numerical Analysis, DiffEQ]), Electrical and Computer
               Engineering (Theoretical Foundations of Science, Compiler Design, System Design, Artificial Intelligence (+senior project : ORAMA [Operating Room
               Anaesthesiology Operating Assistant : AI / 'Expert System']), (Massively) Parallel Processing, Circuits), M.E.: Graphics, Speechmaking... (Metro State U :
               General Chemistry, Weight Training, IT/Unix +CS (Algorithm Analysis, Systems), finance, ...). My assigned dorm mate when I first started attending CU
               Boulder was Joe Schaak.

                Consultant/Founder/CTO Self Employed => Moebius Computer Consulting (AKA Mobius Software): 1980 to 1987


                    Originated a low level WYSIWYG Sector Editor, inc. VTOC {Entirely in 6502 assembly}.
                    Whole Disk Compression [Awarded. 6502] *Graphic Editing, Sprites * Negotiated Consulting Contracts.
                    Wrote/Adapted Bulletin Board Software (including 6502 assembly level Serial Interrupt Drivers).
                    Driving of modems with scripted commands *Utilities for Telecommunications, Drives, Graphics, WP..                                                           Sector Editor       Drive Copier

                       An uncle, alum of the South African military, prequalified clients at a local community college:
                    Development of a Statistical Analysis program, intrinsic to a Doctoral Candidate's Thesis.
                       [Each time he brought it back for upgrades, he had replaced my name in the comments with his]
                    Designed a Database System, used in contract for Real Estate Multi-Listings {CP/M : TP : Z80}.
                       [Alas, the monopolistic multi listings service of the day apparently wasn't conducive to full payment]
                    Developed Student Grade Tracking + Sorting DBMS, later associated Dial Up Telecom BBS version.
                       Incidental lessons learned included strategies for coping with clients who repeatedly changed their specifications mid-stream, made
                       partial payments, or didn't pay at all, who repeatedly took credit for my work, or threatened use of lower cost competitors for upgraded                      Student            Multiple
                                                                                                                                                                                    Grading &          Choice Test
                       versions.                                                                                                                                                    Handicap           Generator
                       I found that teachers appeared to appreciate it if I volunteered programs, or were willing to accept them instead of homework:                                Profiling

                    Originated on perceived need: Cryptogram / character 'jumble' | substitution entry + generator.
                    General Purpose Multiple Choice Test Presentation and Scoring software * Flag drawing * Etc.
                       Hosted as SYSOP 2 or 3 different flavors of Bulletin Board Systems (Electronic Publishing + Social Networking), including writing my
                       own drivers, terminal programs, utilities, upgrades and front ends to existing BBSs, advertising it, and hosting the area's first 1200 baud
                       system on a dedicated line.
                       Near the end of my Apple ][ usage, I made up an entire disk of utilities and games that I was willing to provide as shareware to the local
                       Apple Pi user's group, which they had indicated they were going to send out, but it's not clear to me that they ended up distributing it,
                       as I had included my phone number on it, and didn't receive any calls.
                    serving in roles: President, Custom/Contract Developer, SYSOP, Philanthropist?                                                                                Pro-Dialer         Mobius Game


                Custom development or involvement with: Jefferson County Schools                    Arapahoe Community College                                                                   ...


                Waiter/Cook/Server/Arcade at Casa Bonita : 1985 to 1986 (Billing themselves as "One of America's top ten roadside attractions.")


                    Mexican, American foods / mass preparation+delivery (incl. condiments+utensils), cleaning, frying. * Training of newer employees,




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                         order fulfillment & customer satisfaction + arcade coin collection. * Napkin rolling. Uniforms. Buttons. Time Cards. Sopaipillas. * Haven't
                         been the cliff diver yet.

                [I thought that the varied and intense customer interaction should help to improve my people skills. Shared tips. One year's service was considered unusually long, and awarded, at the
                time. Service for mass quantities of people; multiple production assembly lines, and simultaneous live shows. Minimal discounts. According to other employees, management reportedly
                utilized lie detector tests under certain circumstances. Said to be under British ownership at the time; now reportedly owned by 'Star Buffet' of Oregon. Reportedly the largest restaurant
                in the world at the time, and still apparently in the top 10]


                Wrangler at Bear Basin Ranch : Less than two weeks in spring / summer of 1982


                     Participating in, and even later leading trail rides, myself with neophytes (incl. my brother) * Chopping wood * Solo excursions *
                         Rounding up horses at ~4 am prior to them, and of course: * Shoveling it.

                [My grandmother put myself and my brother in touch with these people. After days of solo excursions and rides with what I seem to recall being told was a quarter horse that they had
                provided me with named "Captain" (with a light complected dappled appearance suggestive of an appaloosa, but who I was much later informed was a full blooded arabian) who I
                appreciated, and winning at tactical/strategic games such as "Ogre" and "GEV" with other ranch hands after hours, the owning duo's male half made a surprise arrival; apparently both
                made of stern stuff, and determined to apply it (I had extended upon someone else's use of a log section for chopping, which he declared was reserved for seating {and I had even
                checked that it was OK with another employee in advance}!), which I quickly replaced with another. He later solicited a round of jokes from all and sundry, none of which he laughed at,
                then adamantly declared that we were too young to engage in the reportedly bare activities that were about to occur in Bear Basin's sauna {later learning that we were reportedly also
                too young at the time for their insurance policy! {not to mention Colorado's outfitter regulations, which may not have been applicable yet anyhow}}; we left quite shortly thereafter. The
                pace of activities at the ranch did not quite appear to mesh up with skills or values which we had been taught for participation in high speed precision drill teams either. I didn't really
                have opportunity to sell any consulting skills, and was disappointed by the way it had culminated... Ah, lessons of Custer county!]



                Organisation Member at Westernaires : 1979 to 1986 (then Billing themselves as "The best precision mounted drill team at speed in
                the world.")


                     Exhibitions at local (+stock show), interstate venues * Bullwhips training * Wrangler Division member.
                     Harnessed: Carts, Chariots [Leadership is done from behind], Roman Riding [Standing on top] {Shetlands}.
                     'Red' Division: 'Indians' [Bareback], then Cavalry [MacLellan] reenactment teams * Yearly ticket sales quotas.
                     Equitation skill development and competition * Also serving in roles: Equestrian, Wrangler, Performer, Sales.


                    An english teacher was one of the more computer literate of the faculty at Golden High school, and asked me to be a teacher's
                        assistant, manning one of the computer labs. Although apparently he mostly wanted me to assist his students with their word
                        processing skills (ok, sometimes I had the lab to myself for Pascal development, though they were using the UCSD interpreter,
                        and didn't have the Turbo Pascal compiler that I was using at home on CP/M), he also suggested that I enter the regional (with
                        multiple local states being invited) programming competitions (supported by the University of Denver's Mathematics and
                        Computer Science department, though it looks like after they put someone from India in charge they first switched to events
                        sponsored by HP and sponsored by Microsoft from the Apple hardware that I had competed on, then stopped having them not
                        long after he also was put in chsarge of their new CS/Engineering program); I programmed solo, though one of the more
                        athletically inclined students who said he was just "geeking out" went along to observe. I managed to take second place (with
                        insufficient time {and no internet available to do research!} in what felt to me like a cramped schedule to finish all of their what felt
                        like mathematically oriented problems {alas no style bonus points for UI design}); a team of two guys taking first (being credited
                        for solving one more problem than I). Alas, apparently prizes for winning disappointingly didn't include trophies, plaques, or
                        scholarships (unlike athletics in those days!?)...
                    I chose to approach Lakewood's local computer store (as Golden did not have one at the time) for my high school's required "Day
                        on the Job" program, obtaining days of experience with consumer level retailing.
                    Near the end of high school, one of my classmates, whose father developed software, challenged me to what was effectively an
                        assembly level duel or contest {using 'Merlin'} for a duration of days (timed to the instruction cycle); even though his brother also
                        somehow got involved despite a promise that he wouldn't, in telling him how many instruction cycles I had achieved ahead of
                        time, I did manage to win by a substantial margin, to their expressed chagrin and consternation or indignation at the time, with                                               David's Apple][e, with Drive
                        later attempts at denial plus claiming further that they let me win (I can say that it did bear some similarity to serial interrupt                                            controller for "Rana Elite"s,
                                                                                                                                                                                                       Serial card for Prometheus
                        drivers that I had developed for telecom projects, and I beat them by considerably less of a percentage in margin than                                                       Promodem, Microsoft 'Premium'
                        performance enhancements which I later delivered on Apple's own system code, for example. I later heard that they went on to                                                 Softcard][e CP/M card {running
                        develop related telecom software themselves! {even though it sounds like they profited thereby, I haven't received royalties from                                                     Turbo Pascal}

                        that (yet) either ;-?}).
                    My uncle was responsible for the computer lab at a local community college, and would sometimes forward me requests for
                        custom software creation, either dealing directly with the college, or from people who were looking for solutions (a variety of
                        which are listed above).
                    My mother enrolled me in                   Junior Achievement, where I was the (elected) leader's assistant; the business we set up
                        manufactured and sold these rolling "penguin on stick"s, sometimes door to door, as we also had to do for our annual

                                             Westernaires stock show ticket sales quotas. I had also tried a light newspaper delivery route for a brief period.


                    I took a Pascal programming class through Adult Education between Junior High and High School, also taking a typing class
                        through WheatRidge High School's summer school program.
                    I found that some of my teachers would accept programs in place of homework assignments, or as contributions; I wrote
                        programs for my French, Social Studies, and Language Arts teachers. I used the computers in the Colorado School of Mines'
                        Green Center after hours until they restricted access. Around the end of Junior High School, my mother and my French teacher
                        got together and arranged to obtain an Apple ][e through his educational discount.
                    My grandmother got me involved in Yoga at an early age, and I have had experience with a handful of different flavors; I can put
                        my foot behind my head if I've stretched recently!...
                    The Junior High school that I attended had some Apple ]['s (a few in the library, available to students in the mornings; though first
                        come, first served!), as well as a Commodore "Pet" computer. I played chess, and when computers started to become
                        competitive at that, it encouraged my interest in them.
                    Back in the Rocky Mountains, where we lived surrounded by forest (originally in a cabin), and consuming a diet largely limited to
                        natural sources, I attended both Elementary School, and "Open Living School" for a year, with brief computer contact at both. I
                        can recall being asked to write a program on an Apple ][ at one point near graduation from 6th grade.
                    My father worked for the U.S. Government, and we transferred to Germany when I was three years old, staying there for around
                        three years, where I attended both U.S. and German style kindergartens in Wixhausen, near Darmstadt (in the area where the
                        GSI Helmholtz Center for {Nuclear} Physics Research, and Frankenstein Castle are located). We also managed to visit many
                        countries of what is now considered the    EU.



                 Operating Systems:
                                                                                                                         Linux: [Debian, Ubuntu, Knoppix, SUSE, Morphix,
                 Unix / BSD : Mac OS X, DragonFly                    Apple DOS             Mac OS Classic
                                                                                                                         Mandriva, ...]




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                 Windows 98 / 2000 / NT [+Server] /                Some: MS-DOS, DEC PDP / VAX /
                                                                                                                    Etc. (some use of a number of others)
                 XP / 7                                            VMS



                 Languages:
                                          C / C++                                                                                    Asm/Assembly: * 6502 * 68k *
                 1:Primary                                        Pascal                BASIC            PostScript
                                          (decades)                                                                                  PPC
                 2:Secondary              Lisp / Scheme           SQL                   Flash            Objective C                 (Parallel) FORTRAN                 C++0x
                                                                  OpenCL [&             Etc. (some use of a number of
                 §:Tertiary               80X86
                                                                  Cuda]                 others)
                 I also took formal classes in French for six years, which assists with comprehension in other countries utilizing latin related
                 languages. I generally like to learn new languages and environments, and adjustment to or productivity in them can be
                 relatively quick.


                 Some Honors/Awards/Facts: (in addition to those won by a number of the products mentioned above)

                 * Certified Scuba Diver            SSI        PADI        ANDI (Nitrox) * Red Belt          Tae Kwon Do

                 Golden High:
                 First Place, Industrial Arts Fair, whole Disk Compression, written entirely in 6502 Assembly [Merlin].
                 Second place, solo for teams of <=3, Regional [multi-state] Programming Competition w/D.U.[NPO].
                 Lettered in Forensics : Debate, primarily environmental quality topics. "Extemporaneous speaking".
                 Teacher's Assistant: For both French and English teachers (managed one of the computing labs).
                 Asked to be the official videographer for the high school's public choir performances.
                 Junior Achievement: Small business emulation; multiple small awards | pins (performance related).
                                                                                                                                                                                  David Hiking on the Matterhorn
                 Bell Junior:
                 Orchestra: Second Chair, Cello. Bowling League: Team & Individual awards (including over 200).
                 Teacher's Assistant: for the school's "Language Arts" Teacher.
                 Member, "TrailBurners": Hiking, incl. many >="14'ers" in Colorado, multi day trips incl. Grand Canyon.
                 Ralston Elementary:
                 Swim Team: Multiple trophies or ribbons for medley relay and breaststroke (.1s f/state qualifying).
                 Scouts: Pinewood Derby; third place, race performance of constructed unique automobile design.
                 Sent to "Gifted and Talented" Art Camp; after creating unique & original works during art classes/3D.
                 {One year spent attending the "Open Living School" alternate education institution in Evergreen.
                 While there, I was awarded a Fire Department plaque for artwork depicting 3D fire fighting helicopter}
                 Member of choir group, including field trips such as performing at external care facilities.
                 Read an average of three books a day while participating in a readathon battling Muscular Dystrophy.
                 Kindergarten in           Germany (German & English variants): [near Frankenstein Castle : components!]                                        A Mitchel Crest           A Dacre Crest            A Lyman Crest
                 Born: Colorado,            U.S.A. (Parents met in Boulder Colorado; their families spent time in Washington and Kansas)
                                                                     Reputed Likely Ancestral Homes and Lodgings:




                  Acre, Israel (lost   Dacres Hotel (WA)    Tower of David in    Our Cabin in    Macintosh Moy Hall    Dacre Castle        Hermitage Castle
                 after Crusades?*)      (Lost with ranch     Jerusalem (say        Golden        (Before its reputed (Apparently taken     (Reportedly also             (Still researching ancestry+: orphaning,
                                       during Depression)    some sources)                       destruction #, and by non 'Jacobites',      taken by non                         conflicts, record issues)
                                                                                                     rebuilding)        along with a         'Jacobites' *)
                                                                                                                     number of others *)




                 Egyptian Pyramids            Mayan        Shaver/Palmer    Dumbarton Castle Fogarty Castle #          Naworth Castle *    Greystoke Castle *
                   (via Ireland?)       Multiprocessors? place in Oklahoma    (reputedly the     (shown reportedly
                                           (Cherokee                       origin of the Mitchel   rebuilt to some
                                       migration/legends?)                     family name)       extent along the
                                                                                                    same design)
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Bill Hambrecht - Wikipedia                                                                        2/3/23, 7:46 AM
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  Bill Hambrecht
  William R. Hambrecht (born 1935) is an American
  investment banker and chairman of WR Hambrecht + Co                    William R. Hambrecht
  which he founded in 1998. He helped persuade Google to use
  an Internet-based auction for their initial public offering (IPO)
  in 2004, instead of a more traditional method using banks and
  other financial companies to find buyers. He is credited with
  popularizing this "OpenIPO" model, using Dutch auctions to
  allow anyone, not just investing insiders, to buy stock in an
  IPO, potentially raising more money for startups. Some of the
  companies he has helped have an IPO like this include
  Overstock.com, Ravenswood Winery, Andover.net and
  Salon.com.[1][2]

  Hambrecht is also credited as one of the first major investment
  bankers to recognize the value of technology and biotech
  companies, helping to take Apple Computer, Genentech and
  Adobe Systems public in the 1980s with his earlier San              Born          1935 (age 87–88)
  Francisco-based company Hambrecht & Quist, which he                 Education     Princeton University,
  founded in 1968 and which also backed the IPOs of Netscape,
                                                                                    AB, History
  MP3.com, and Amazon.com. The firm was bought by Chase
  Manhattan in 1999.[3] In 1997, he sponsored the foundation of       Occupation Investment banker
  BOOM Securities (H.K.) Limited.[4]                                  Spouse        Sally R. Hambrecht
                                                                      Children      5
  Hambrect is a 1957 graduate of Princeton University, where he
  received an A.B. in History. He has been listed as one of the top
  political donors in the country, giving mostly to Democratic candidates, and credits Nancy Pelosi,
  whom he met in the 1970s, with inspiring him to get involved in politics.[5]

  Hambrecht is on the board of trustees of the American University of Beirut,[6] Lebanon.[7] He was
  on the Motorola board of directors from 2008 to 2011 and the AOL Inc. board of directors from
  December 2010 to February 2011.[8]


  Professional football
  In the 1980s Hambrecht was a minority investor in the Oakland Invaders, a charter member of the
  failed United States Football League.[2]



https://en.wikipedia.org/wiki/Bill_Hambrecht                                                          Page 1 of 2
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Plaintiff's Exhibit I {Adobe Ventures ImageX investment(s) : p19 out of 116 page SEC Form 10k filing}


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  RXWVWDQGLQJFRPPRQVWRFNRIWKHUHJLVWUDQWKDYHEHHQH[FOXGHGLQWKDWVXFKSHUVRQVPD\EHGHHPHGWREHDIILOLDWHV
  7KLVGHWHUPLQDWLRQRIDIILOLDWHVWDWXVLVQRWQHFHVVDULO\DFRQFOXVLYHGHWHUPLQDWLRQIRURWKHUSXUSRVHV$VRI-DQXDU\
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  DQGRXWVWDQGLQJ
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      3RUWLRQV RI WKH 3UR[\ 6WDWHPHQW IRU WKH  $QQXDO 0HHWLQJ RI 6WRFNKROGHUV WKH ³3UR[\ 6WDWHPHQW´  WR EH
  ILOHGZLWKLQGD\VRIWKHHQGRIWKHILVFDO\HDUHQGHG1RYHPEHUDUHLQFRUSRUDWHGE\UHIHUHQFHLQ3DUW
  ,,,KHUHRI([FHSWZLWKUHVSHFWWRLQIRUPDWLRQVSHFLILFDOO\LQFRUSRUDWHGE\UHIHUHQFHLQWKLV)RUP.WKH3UR[\
  6WDWHPHQWLVQRWGHHPHGWREHILOHGDVSDUWKHUHRI
